     Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


THETA IP, LLC.

                 Plaintiff,
                                              Case No. 6:20-cv-00160-ADA
     v.

SAMSUNG ELECTRONICS CO., LTD.,
SAMSUNG ELECTRONICS AMERICA,
INC.,                                         JURY TRIAL DEMANDED

                 Defendants




DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OF NON-INFRINGEMENT
        Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 2 of 12




                                                TABLE OF CONTENTS

                                                                                                                                  Page(s)

I.     INTRODUCTION ............................................................................................................. 1
II.    BACKGROUND ............................................................................................................... 1
       A.         The Asserted Claims .............................................................................................. 1
       B.         Theta’s Infringement Theory ................................................................................. 3
III.   Argument ........................................................................................................................... 4
       A.         The Accused Products Do Not Perform Certain Claimed Adjustments ................ 4
       B.         The Accused Products Do Not Meet the “Worst-Case” Limitations ..................... 5
       C.         Summary Judgment of No Infringement on the ’202 Patent is Appropriate
                  Because the Accused Products Do Not Perform the “Comparing” Step ............... 6
IV.    Conclusion ......................................................................................................................... 7




                                                                    i
  Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 3 of 12




                               EXHIBIT LIST

Exhibit    Description
           Deposition of Theta’s technical expert, Lawrence E. Larson, October 29,
 Ex. 1
           2021.
           Expert report of Theta’s technical expert, Lawrence E. Larson, regarding
 Ex. 2
           purported infringement, September 17, 2021




                                      ii
          Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 4 of 12




I.        INTRODUCTION

          Theta cannot show that the accused products perform the bias adjustments of ’962 Claim

1 and ’202 Claim 13; meet the “worst-case” limitations of the ’825 Patent claims 3 and 8, and

’202 claims 7 and 13; or meet the “comparing” step of each of the ’202 Claims.1 Summary

judgment of non-infringement is thus appropriate on all the Asserted Patents.

II.       BACKGROUND

          A.      The Asserted Claims

          A wireless transceiver consumes power when listening for and processing a signal, such

as a desired phone call. The Asserted Patents are directed to methods for reducing power

consumption when the received signal has certain characteristics related to the strength of

“desired signal” and “interferer signals.” Based on whether the “desired signals” and “interferer

signals” are “high” or “low,” the patents teach either increasing or decreasing the amount of

power consumed in receiving the signal. To do this, the patents discuss dynamically changing

bias current, impedance, or both to reduce power dissipation. The concept is encapsulated in the

numbered clauses of ’962 claim 1:

          wherein the bias current and the impedance of the circuit in the receiver signal
             path of the wireless transceiver are varied according to the following:

          (i) when the signal strength of the interferer signal is high and the signal strength
              of the desired signal is low, the bias current of the circuit in the receiver signal
              path of the wireless transceiver is increased and the impedance of the circuit
              in the receiver signal path of the wireless transceiver is reduced, resulting in a
              first current drain;

          (ii) when the signal strength of the interferer signal is high and the signal strength
               of the desired signal is high, the bias current of the circuit in the receiver
               signal path of the wireless transceiver is increased while the impedance of the
               circuit in the receiver signal path of the wireless transceiver is increased,

      1
     Theta has identified the following asserted claims: U.S. Patent No. 9,838,962 (“’962
Patent”), Claim 1; 10,129,825 (“’825 Patent”), Claims 3, 8; 10,524,202 (“’202 Patent”), Claims
7, 13 (collectively “Asserted Claims” and “Asserted Patents”).


                                                     1
          Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 5 of 12




              resulting in a reduction in current drain when compared to the first current
              drain;

          (iii) when the signal strength of the interferer signal is low and the signal strength
               of the desired signal is low, the bias current of the circuit in the receiver signal
               path of the wireless transceiver is reduced and the impedance of the circuit in
               the receiver signal path of the wireless transceiver is reduced resulting in
               reduced current drain when compared to the first current drain; and

          (iv) when the signal strength of the interferer signal is low and the signal strength
              of the desired signal is high, the bias current of the circuit in the receiver
              signal path of the wireless transceiver is decreased2 and the impedance of the
              circuit in the receiver signal path of the wireless transceiver is increased,
              resulting in a reduction in current drain compared to the first current drain.

          For example, clause (iii) requires that when the desired signal is “low” and the interferer

is “low,” the actions to take are to reduce bias current and reduce impedance. This has the effect

of reducing power consumption compared to the “first current drain” of clause (i). At the

minimum, in order to practice the invention, one must (a) determine the strength of the desired

signal, (b) determine the strength of the interferer signal, (c) determine if the signals are “high”

or “low”, and (d) make a defined change to bias current, impedance, or both.

          The Asserted Claims also describe a specific case called the “worst-case power

dissipation condition,” which is when the power dissipation (consumption) is at its highest.

Claims 3 and 8 of the ’825 Patent require:

          wherein a worst-case power dissipation condition from the battery results when
          the signal strength of the desired signal is low and the signal strength of the
          interferer signal is high

          To satisfy this element, Theta must prove that the receiver goes into the highest power

consumption mode, i.e. the worst case, when the desired signal is low and the interferer is high.




2
    This word was changed from “increased” to “decreased” by certificate of correction.

                                                      2
          Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 6 of 12




         B.     Theta’s Infringement Theory

         Theta’s original complaint accused an old Qualcomm technology called “IntelliCeiver,”

allegedly built into current Qualcomm radio transceivers. D.I. 1 ¶ 51.

                                                                         . Theta then abandoned

the IntelliCeiver theory a year into the case and shifted its accusations toward the Qualcomm

automatic gain control (“AGC”) function in the transceivers. AGC was well-known in the prior

art, as acknowledged in the Asserted Patents and by Theta’s expert. See, e.g., ’825 Patent Fig. 1

(RF AGC 166, BaseBand AGC 120), 3:62–64, 4:22–23; Ex. 1 (Larson Dep.) 41:25–42:19, 43:9–

12, 45:2–4.

         The specific flavor of AGC that Theta accuses is a proprietary Qualcomm algorithm

called

                               . See Ex. 2 (Larson Rep.) ¶¶ 67–68.



                                                                                   . See, e.g., Ex. 2

(Larson Rep.) ¶ 148.3 According to Dr. Larson,



                . See, e.g., Ex. 2 (Larson Rep.) ¶¶ 170, 174–75.

         Importantly, there is no dispute that the                 in all the Accused Products



Ex. 1 (Larson Dep.) 200:19–24. As explained in more detail by Theta’s expert,

                                                                             See, e.g., Ex. 2

(Larson Rep.) ¶¶ 67 (



   3
       An increased “gain state” corresponds to decreased gain.


                                                     3
        Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 7 of 12




                                                                             ), 132 (

                                                                         ), 147, 171–73, 527, 721; Ex.

1 (Larson Dep.) 201:7–9 (

          ), 724 (quoting internal Qualcomm design document). So, in sum:



        Under the        formula,

                                                                 . See, e.g., Ex. 2 (Larson Rep.) ¶¶

172 (                                                                                             ),

374; Ex. 1 (Larson Dep.) 202:6–8 (

                                                            ).

                                    . Ex. 2 (Larson Rep.) ¶ 170.

III.    ARGUMENT

        A.     The Accused Products Do Not Perform Certain Claimed Adjustments

        Several Asserted Claims require that bias current be increased when the interferer signal

is high or decreased when the interferer signal is low. For instance, ’962 Claim 1, clause (i) sets

the “first current drain” when the receiver is in the Desired (Low) / Interferer (High) condition

and requires a reduction in bias current when the transceiver moves to clause (iii), where the

signals are Desired (Low) / Interferer (Low). ’202 Claim 13 similarly requires an increase in

bias current when the receiver is in the Desired (Low) / Interferer (High) condition.

        The accused            algorithm, however, makes the opposite adjustment. Reducing the

interferer signal from the high level in clause (i) to the low level in romanette (iii)

                           . Accordingly, as the receiver moves from clause (i) to (iii),




                                                   4
        Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 8 of 12



                                                4
                                                    – the opposite of what is required by ’962 Claim

1. Similarly, under the condition recited in ’202 Claim 13,

                                               . For this reason, Theta cannot establish

infringement, and summary judgment is appropriate on ’962 Claim 1 and ’202 Claim 13.

       B.      The Accused Products Do Not Meet the “Worst-Case” Limitations

       Claims 3 and 8 of the ’825 Patent require that “a worst-case power dissipation condition

from the battery results when the signal strength of the desired signal is low and the signal

strength of the interferer signal is high.” Claim 7 of the ’202 Patent contains a worst-case

limitation reciting the same low-high signal conditions. Claim 13 of the ’202 Patent similarly

requires that bias current be increased in response to the same Desired (Low) / Interferer (High)

condition, defined in the specification as the worst-case power dissipation condition. Dr. Larson

confirms that he treats this as the “worst case,” with his analysis on claim 13 citing back to the

worst-case limitations of ’202 claim 1 and ’825 Claim 3. E.g. Ex. 2 (Larson Rep.) ¶ 265.

       According to Theta’s expert, worst-case power dissipation occurs in

                                                                                               . E.g.,

Ex. 2 (Larson Rep.) ¶ 137, 143. Samsung agrees that                                                      .

So, in order to establish infringement, Theta must show that when the received signal exhibits

low desired/high interferer conditions, the system                                         .

       Theta has produced no such evidence, and indeed, as discussed above,

                                                         .




   4
     As explained above,                                                                                     .
See, e.g., Ex. 1 (Larson Dep.) 200:19–24; Ex. 2 (Larson Rep.) ¶¶ 67, 132, 147, 171–73.


                                                    5
        Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 9 of 12




                                                                                   . Dr. Larson was

in agreement with respect to the operation of the system. See, e.g., Ex. 2 (Larson Rep.) ¶¶ 171–

72; Ex. 1 (Larson Dep.) 41:16–24, 201:7–9, 202:6–8 (

                                                               ), 202:10–203:8 (

                                                                         ).

       It is Theta’s burden to come forward with competent evidence to support its infringement

claim. But Theta cannot meet its burden because the accused              algorithm works in the

opposite manner of the claims. Summary judgment on ’825 Claims 3 and 8, and ’202 Claims 7

and 13 is therefore appropriate.

       C.       Summary Judgment of No Infringement on the ’202 Patent is Appropriate
                Because the Accused Products Do Not Perform the “Comparing” Step

       Claims 7 and 13 of the ’202 Patent require “comparing the strength of the desired signal

relative to the strength of the interferer signal.” Proof of the presence of this element would

require showing (1) where the strength of the desired signal is determined, (2) where the strength

of the interferer signal is determined, and (3) where those two values are compared, presumably

at a particular place in the Qualcomm source code.

       Dr. Larsen’s report provides no such disclosure. The closest he came in his report is a

discussion of                                            .” Ex. 2 (Larson Rep.) ¶ 212–14. But at

his deposition, he acknowledged that this step merely determines the interferer signal strength

and does not satisfy the rest of the claim limitation:

           Q Okay. So in paragraph 213 of your report, none of the—none of the
       sentences there describe a compare of the signal strength of the desired signal to
       the signal strength of the interferer signal. Correct?

          A So those—those words are—and once again, we are talking about 213.
       Right?

            Q Of your report, correct.


                                                  6
          Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 10 of 12




             A Yeah. No. That—that—that paragraph, 213, does not talk about
          comparing       —sorry—                                      .


Ex. 1 (Larson Dep.) 360:5–17; see also Ex. 1 (Larson Dep.) 219:16–220:9, 221:10–25, 225:10–

226:7, 229:24–230:9, 361:5–17, 361:18–362:8, 365:20–367:12.

          Nor did Dr. Larson identify any other comparison in the accused products5:

              Q· · So in section [d], spanning paragraphs 211 through 215, you have not
          shown what in the                     show the compare of the strength of the
          desired signal to the strength of the interferer signal. Correct?

             [objection]

             A Yeah. In those paragraphs the—I have not explicitly shown a precise—
          not—I have not explicitly shown a comparison of the
                           and, to be honest, because I don't think it’s necessary.



Ex. 1 (Larson Dep.) 368:17–369:7.

          Dr. Larson did not provide a basis in his report from which a reasonable jury could

conclude that the comparing step has been met. Accordingly, summary judgment of non-

infringement is appropriate on each claim of the ’202 Patent.

IV.       CONCLUSION

          Summary judgment of non-infringement of all the Asserted Patents should be entered for

Samsung for the reasons explained above.




      5
     Dr. Larson’s infringement analysis of the limitation “[d] The S21 Accused Products
compare the strength of the desired signal to the strength of the interferer signal” spans
paragraphs 211–15. Ex. 2 (Larson Rep.) ¶¶ 211–15. His analysis of this limitation for other
claims that contain the term as well as for different products merely cite back to this section, or
contain substantially the same analysis. E.g., id. ¶¶ 235, 263, 413–17, 437, 465, 614–18, 638.


                                                  7
      Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 11 of 12




Dated: November 12, 2021           Respectfully submitted,

                                   By: /s/ S. Michael Song
                                      S. Michael Song (CA State Bar No. 198656)
                                      Michael Joshi (CA State Bar No. 302184)
                                      michael.song@dechert.com
                                      michael.joshi@dechert.com
                                      DECHERT LLP
                                      3000 El Camino Real
                                      Five Palo Alto Square, Suite 650
                                      Palo Alto, CA 94036
                                      Telephone: (650) 813-4800

                                      Martin J. Black (PA State Bar No. 54319)
                                      Derek J. Brader (PA State Bar No. 312513)
                                      martin.black@dechert.com
                                      derek.brader@dechert.com
                                      DECHERT LLP
                                      Cira Centre
                                      2929 Arch Street, Philadelphia, PA 19104
                                      Telephone: (215) 994-4000

                                      Ruffin B. Cordell (DC Bar No. 459780)
                                      cordell@fr.com
                                      FISH & RICHARDSON P.C.
                                      1000 Maine Avenue, S.W., Suite 1000
                                      Washington, DC 20024
                                      Telephone:(202) 783-5070

                                      Francis J. Albert (CA Bar No. 247741)
                                      albert@fr.com
                                      FISH & RICHARDSON P.C.
                                      12860 El Camino Real, Suite 400
                                      San Diego, CA 92130
                                      Telephone:(858) 678-5070

                                      Melissa R. Smith (State Bar No. 24001351)
                                      melissa.gillamsmithlaw.com
                                      GILLAM & SMITH, LLP
                                      303 South Washington Avenue
                                      Marshall, Texas 75670
                                      Telephone: (903) 934-8450

                                      Attorneys for Samsung Electronics Co., Ltd.
                                      and Samsung Electronics America, Inc.




                                      8
       Case 6:20-cv-00160-ADA Document 157 Filed 11/19/21 Page 12 of 12




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed and received by

all counsel of record using the Court’s CM/ECF system on November 12, 2021.

                                                 /s/ S. Michael Song
                                                 S. Michael Song
